
	OSCN Found Document:AMENDMENT TO RULES FOR MANDATORY JUDICIAL CONTINUING LEGAL EDUC.

	
				
            
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				AMENDMENT TO RULES FOR MANDATORY JUDICIAL CONTINUING LEGAL EDUC.2014 OK 77Decided: 09/08/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 77, __ P.3d __
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


RE: AMENDMENT TO RULES FOR MANDATORY JUDICIAL CONTINUING LEGAL EDUCATION




O R D E R


Pursuant to our general superintending control over all inferior courts, Okla. Const. art. 7, §4 and our general administrative authority over state courts, Okla. Const. art 7, §6, we hereby amend Rule 2 of the Rules for Mandatory Judicial Continuing Legal Education, 5 O.S. 2011, Ch. 1, App. 4-B. Amended Rule 2 is set out in the attachment hereto.

It is therefore ordered that the amendment to Rule 2 of the Rules for Mandatory Judicial Continuing Legal education is hereby approved and adopted and shall be effective immediately. It is further ordered that Rule 2 of the Rules for Mandatory Judicial Continuing Legal Education as amended shall be included in the official publication of the Oklahoma Statutes.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 8th day of September, 2014.


/S/CHIEF JUSTICE



Colbert, C.J., Reif, V.C.J., Kauger, Watt, Edmondson, Taylor, Combs, Gurich, JJ., concur.

Winchester, J., not voting.



ATTACHMENT

Rule 2. Approved Courses for Mandatory Judicial Continuing Legal Education

The hours of Mandatory Judicial continuing Legal Education must be obtained by attendance at MJCLE courses or programs provided by the Administrative Office of the Courts, or a National Judicial College course, or programs presented at monthly meetings of the Oklahoma Chapters of the American Inns of Court, or any other program specially approved by the Chief Justice of the Oklahoma Supreme Court for MJCLE. General continuing legal education programs or courses many not be used to satisfy the MJCLE requirement.





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